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                     Exhibit A
Government’s Brady Disclosure dated September 24,
                     2020
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